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          6 Proposed Attorneys for
            Patient Care Ombudsman,
          7 Timothy J. Stacy, DNP, ACNP-BC
          8                       UNITED STATES BANKRUPTCY COURT
          9                        CENTRAL DISTRICT OF CALIFORNIA
         10                          SAN FERNANDO VALLEY DIVISION
         11 In re                                 )        LEAD CASE NO. 9:20-bk-10554-DS
                                                  )
         12                                       )        Jointly administered with:
               COMMUNITY PROVIDER OF              )        Case No. 9:20-bk-10553-DS and
         13    ENRICHMENT SERVICES, INC.,         )        Case No. 9:20-bk-10994-DS
                                                  )
         14                               Debtor. )        Chapter 11
                                                  )
         15                                       )
               NOVELLES DEVELOPMENTAL             )
         16    SERVICES, INC.                     )        NOTICE PURSUANT TO FEDERAL
                                                  )        RULE OF BANKRUPTCY
         17                               Debtor. )        PROCEDURE 2015.1(a) BY PATIENT
                                                  )        CARE OMBUDSMAN
         18                                       )
               CPES CALIFORNIA, INC.              )
         19                                       )        [NO HEARING REQUIRED]
                                          Debtor. )
         20                                       )
                                                  )
         21                                       )
         22         PLEASE TAKE NOTICE THAT pursuant to Rule 2015.1(a) of the Federal Rules
         23 of Bankruptcy Procedure, Timothy J. Stacy, DNP, ACNP-BC, the Patient Care
         24 Ombudsman (the “PCO”) appointed under Section 333 of the Bankruptcy Code in the
         25 above referenced Chapter 11 bankruptcy cases of Community Provider of Enrichment
         26 Services, Inc., Novelles Developmental Services, Inc., and CPES California, Inc.
         27 (collectively, the “Debtors”), made his written Emergency Preliminary Report to the Court
         28

RESNIK HAYES
 MORADI LLP
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               regarding the quality of patient care provided to the patients of the Debtors on September
          1
               23, 2020 (Docket No. 354).
          2
                       PLEASE TAKE FURTHER NOTICE THAT pursuant to 11 U.S.C. §333(b)(2),
          3
               future reports will be filed at least every 60-days. Future reports will similarly be in
          4
               writing and filed with the Bankruptcy Court.
          5
                       Any party wishing to obtain a copy of any written report can contact counsel for the
          6
               PCO whose name, address, phone number, electronic mail (“e-mail”) address is shown on
          7
               the top left-hand corner of this Notice. The request may be made by e-mail and a copy will
          8
               be provided by return e-email.
          9
                       PLEASE TAKE FURTHER NOTICE THAT the attached “NOTICE BY PATIENT
        10
               CARE OMBUDSMAN” (see Exhibit “A”) will be posted conspicuously at the Debtors’
        11
               facilities.
        12
        13
               Dated: October 23, 2020                              RESNIK HAYES MORADI LLP
        14
        15                                                    By:      /s/ Roksana D. Moradi-Brovia
                                                                        Roksana D. Moradi-Brovia
        16                                                                  Matthew D. Resnik
                                                                                Attorneys for
        17                                                               Patient Care Ombudsman,
                                                                     Timothy J. Stacy, DNP, ACNP-BC
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RESNIK HAYES
 MORADI LLP
                                                              2
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                         EXHIBIT A
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          1                        NOTICE BY PATIENT CARE OMBUDSMAN
          2
          3          Dr. Timothy J. Stacy, DNP, ACNP-BC has been appointed as the Patient Care
          4 Ombudsman (the “PCO”) in the Chapter 11 bankruptcy cases of Community Provider of
          5 Enrichment Services, Inc., Novelles Developmental Services, Inc., and CPES California,
          6 Inc. (collectively, the “Debtors”) [Case Nos. 9:20-bk-10554-DS, jointly administered with
          7 Case No. 9:20-bk-10553-DS and Case No. 9:20-bk-10994-DS], pursuant to Section 333 of
          8 the Bankruptcy Code.
          9          The PCO will make reports to the Court regarding the quality of patient care
         10 provided to the patients of the Debtor. The first written report was made to the Bankruptcy
         11 Court on September 23, 2020. Subsequent written reports will be made in 60-day intervals
         12 and will similarly be filed with the Bankruptcy Court.
         13          Any party wishing to obtain a copy of the written reports can contact counsel for the
         14 PCO, as follows. The request may be made by e-mail and a copy will be provided by
         15 return e-mail.
         16                                     Roksana D. Moradi-Brovia
                                              RESNIK HAYES MORADI LLP
         17
                                               17609 Ventura Blvd., Suite 314
         18                                          Encino, CA 91316
                                                 Telephone: (818) 285-0100
         19                                   Email: Roksana@RHMFirm.com
         20
         21
                     Any party wishing to contact the PCO with any concerns about patient care issues
         22
               can contact him, as follows.
         23
         24                               Timothy J. Stacy, DNP ACNP-BC
                                             Telephone: (805) 208-0434
         25                                    Email: tstacy@ucla.edu
         26
         27
         28

RESNIK HAYES
 MORADI LLP
